Case 23-12825-MBK Doc 614-11 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
            Exhibit 10 to Declaration of Daniel J. Merrett Page 1 of 37



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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.1Merrett
                                                    of 27    Page 2 of 37



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    -----------------------------------------------------------X
    In re:                                                    )        Jointly Administered at
                                                              )        Bankruptcy No. 03-35592
    MID-VALLEY, INC., et al.,                                 )
                                                              )        Chapter 11
                                        Debtors.              )
                                                              )        Related to Document Nos. 29 & 58
                                                              )
    -----------------------------------------------------------X


        RESPONSE OF TORT VICTIMS REPRESENTED BY BARON & BUDD AND
            SILBER PEARLMAN TO THE MOTIONS TO DISMISS FILED BY
                            VARIOUS INSURERS

    TO THE HONORABLE JUDITH K. FITZGERALD,
    CHIEF UNITED STATES BANKRUPTCY JUDGE:

            Baron & Budd and Silber Pearlman are law firms that each represent thousands of

    tort victims (“Tort Victims”) asserting personal injury claims against one or more of the

    Debtors in these jointly administered cases. The Tort Victims’ claims arise from toxic

    exposure to asbestos and/or silica. Liability insurers of one or more of the Debtors

    (collectively, the “Insurance Companies”) have moved to dismiss the Debtors’ cases.1


    1
      A group of insurers who style themselves Certain Insurers filed the Motion to Dismiss Pursuant to 11
    U.S.C. §1112(b) (the “Certain Insurers’ Motion”) on behalf of the following insurers: ACE Property &
    Casualty Insurance Company (formerly CIGNA Property and Casualty Insurance Company, formerly
    Aetna Insurance Company), Central National Insurance Company of Omaha, Century Indemnity Company
    (as successor to both CCI Insurance Company (successor to Insurance Company of North America) and
    CIGNA Specialty Insurance Company (formerly California Union Insurance Company), Pacific Employers
    Insurance Company, St. Paul Mercury Insurance Company (only with respect to policies issued as an
    affiliated member company of AFIA, an unincorporated insurance association), U.S. Fire Insurance
    Company, OneBeacon America Insurance Company (formerly Commercial Union Insurance Company,
    formerly Employers Commercial Union Insurance Company, formerly Employers Surplus Lines Insurance
    Company and The Employers Liability Assurance Corporation), Stonewall Insurance Company, Seaton
    Insurance Company (formerly Unigard Mutual Insurance Company), TIG Insurance Company (solely as
    successor by merger to International Insurance Company and International Surplus Lines Insurance
    Company), Mt. McKinley Insurance Company (formerly Gibraltar Casualty Company), Everest
    Reinsurance Company (formerly Prudential Reinsurance Company), and Federal Insurance Company (the


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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.2Merrett
                                                    of 27    Page 3 of 37



    The Tort Victims respectfully submit this Response in opposition to the Motions to

    Dismiss, and urge the Court to deny the Motions for the reason that they are ill-founded

    and filed not to further the interests of any creditor but rather in an attempt to hinder and

    delay a reorganization that enjoys the overwhelming support of affected creditors.

         I.      SUMMARY: THIS MOTION IS WITHOUT FOUNDATION AND
              REPRESENTS MERELY THE LATEST SKIRMISH IN THE INSURANCE
                  COMPANIES’ GUERILLA WAR ON CONGRESS’ ASBESTOS
                      AMENDMENTS TO THE BANKRUPTCY CODE

              The Insurance Companies have filed the Motions to Dismiss in a transparent and

    self-serving attempt to derail this bankruptcy case before the Court can reach the merits

    of the Plan of Reorganization filed in this case by the Debtors (the “Plan”), supported by

    virtually all of the impaired creditors, and approved by the representative of future

    claimants. This attempt is fully consistent with the Insurance Companies’ well-known

    distaste for the trust and channeling injunction mechanism added by Congress as §

    524(g) of the Bankruptcy Code, and represents nothing more than the latest battle in their

    campaign to ensure that deserving mass tort victims and overwhelmed debtors never

    attain the potential benefits of § 524(g).

              The Motions to Dismiss seek, primarily, an order from this Court dismissing the

    bankruptcy case under 11 U.S.C. § 1112(b) for want of good faith. The allegations

    leveled by the Insurance Companies in support of the Motions to Dismiss can all be

    countered by a single unavoidable fact: this Plan is the best possible solution to the




    “Certain Insurers”). A second group of insurers, Hartford Accident and Indemnity Company, First State
    Insurance Company, Hartford Casualty Insurance Company, New England Insurance Company, and Twin
    City Fire Insurance Company (collectively the “Hartford Insurers”), filed the Motion of Hartford Accident
    and Indemnity Company and Certain of its Affiliates to Dismiss these bankruptcy Cases as Bad Faith
    Filings (the “Hartford Motion”) (collectively with the Certain Insurers’ Motion, the “Motions to Dismiss”).


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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.3Merrett
                                                    of 27    Page 4 of 37



    potentially ruinous mass tort litigation pending against the Debtors, and is the product of

    consensual negotiations that produced a result fair and equitable to all.

            The Debtors face a huge number of asbestos and silica lawsuits, any one of which

    might lead to liability in the tens or even hundreds of millions of dollars, and which, in

    aggregate, could threaten the financial viability of even the healthiest company.

    Congress, in adding 11 U.S.C. § 524(g) to the Bankruptcy Code, intended the trust and

    channeling injunction mechanism to be available in precisely the situation presented here.

    Companies such as the Debtors are ideal candidates for § 524(g) protection, seeking to

    ensure both fair and equitable recovery for present and future claimants and the enduring

    financial viability of the reorganized debtor. This Plan, employing provisions of the

    Bankruptcy Code by debtors facing the very problems those provisions were designed to

    address, supported by the overwhelming majority of impaired creditors, cannot

    reasonably be claimed to have been filed without the good faith required by 11 U.S.C. §

    1112(b).

            The Insurance Companies take too formalistic a view of the Third Circuit caselaw

    governing the determination of whether a bankruptcy petition is filed in good faith. They

    argue that the holding of the leading case in the Third Circuit, premised on the unique

    facts before that court, mandates dismissal here. On the contrary, the Third Circuit

    directs a bankruptcy court entertaining a 11 U.S.C § 1112(b) motion to dismiss for lack

    of good faith to “examine the totality of facts and circumstances to determine whether

    they support a finding of good faith.” In re SGL Carbon Corporation, 200 F.3d 154 (3rd

    Cir. 1999). Debtors who file for bankruptcy protection for no other reason than to secure

    tactical advantage over a litigation adversary, who file to frustrate the enforcement of



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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.4Merrett
                                                    of 27    Page 5 of 37



    rights by others or who file without a valid reorganizational purpose all may fall foul of

    the requirement of good faith in filing, if the circumstances warrant such a finding. The

    facts and circumstances of this case permit no other finding than that the Debtors filed in

    good faith, for valid reorganizational purposes, and with the intention and the likelihood

    that the Plan, if confirmed, would ensure fair and equitable treatment of impaired

    creditors and the long term viability of the Debtors.

            Bankruptcy courts are courts of equity. The requirement of filing in good faith is

    one of the mechanisms of the Bankruptcy Code designed to ensure that those who seek

    the protections of bankruptcy approach the bankruptcy courts with clean hands. This

    Court ought not dismiss the good faith filing of a Debtor facing potentially disastrous

    mass tort liability and seeking the protection of a trust and channeling injunction with the

    support of the only creditors impaired by the Plan. It should certainly not do so at the

    behest of Insurance Companies who remain utterly opposed to the very existence of

    § 524(g) and have a demonstrated willingness to use every legal tool at their disposal to

    ensure § 524(g) does not operate as Congress intended. The totality of the facts and

    circumstances of this Case compels a finding that the Debtors filed in good faith, and the

    Court should reject the Motions to Dismiss. 2




    2
      The Insurance Companies also attempt both direct and indirect attacks on the constitutionality of 11
    U.S.C. §524(g). These attacks are meritless, premature, and ultimately futile assaults on the
    constitutionality of § 524(g). The Tort Victims focus in this Response upon the attempt to have the case
    dismissed on good faith grounds. To the extent the Court considers it necessary to weigh the Insurance
    Companies’ constitutional issues, the Tort Victims join in those portions of the Debtors’ response to the
    Motions to Dismiss dealing with the constitutionality of 11 U.S.C § 524(g).


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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.5Merrett
                                                    of 27    Page 6 of 37



      II.  THE INSURERS LACK STANDING TO ASSERT THE RIGHTS OF
     CREDITORS WHO HAVE ENDORSED THE PROPOSED PLAN BY A HUGE
    MARGIN OR OTHERWISE INJECT THEMSELVES INTO THE BANKRUPTCY
                              PROCESS

            The Insurance Companies lack standing to participate in Debtors’ reorganization.

    They are not affected by the proposed Plan or by the bankruptcy filing.                See

    Memorandum of Baron & Budd and Silber Pearlman on the Lack of Standing of Various

    Insurers of One or More Debtors to Participate in Debtors’ Reorganization Cases

    (hereinafter “Memorandum”). The Insurance Companies’ participation in the Debtors’

    reorganization runs afoul of constitutional, prudential, and statutory limitations on

    standing. The Tort Victims will not repeat their earlier arguments on standing but will

    remind the Court of only three points.

            First, constitutionally, the Insurance Companies fail to establish an individual

    injury, fairly traceable to Debtors’ allegedly unlawful conduct, and which is likely to be

    redressed by the requested relief. See, e.g., AMTRAK v. Pa. PUC, 342 F.3d 242, 254 (3d

    Cir. 2003). Second, prudentially, the Insurance Companies assert generalized grievances

    concerning bankruptcy policies more appropriately addressed to the representative

    branches of the government. They also appear to assert the rights and interests of third

    parties, and they present claims outside the “zone of interests” protected by the specific

    law invoked. See, e.g., Benjamin v. Aroostook Med. Ctr., Inc., 57 F.3d 101, 104 (1st Cir.

    1995); Warth v. Seldin, 422 U.S. 490, 498 (1975); Bennett v. Spear, 520 U.S. 154, 162

    (1997). Finally, statutorily, the Insurance Companies attempt to cast themselves as

    “parties in interest,” which would allow them be heard on any matter in a Chapter 11

    case. See 11 U.S.C. 1109(b). But the Insurance Companies are really only peripheral

    parties, entirely external to the Debtors’ bankruptcy cases, and courts are aware that they


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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.6Merrett
                                                    of 27    Page 7 of 37



    should “not to be so liberal in granting applications as to overburden the reorganization

    process by allowing numerous parties to interject themselves into the case on every issue,

    to the extent that the goal of a speedy and efficient reorganization is hampered.” In re

    Public Serv. Co., 88 B.R. 546, 554 (Bankr. D.N.H. 1988).

          III. THE OVERWHELMING SUPPORT OF CREDITORS AND THE
         TOTALITY OF THE CIRCUMSTANCES SURROUNDING THIS FILING
            SHOWS THAT THE BANKRUPTCY WAS FILED IN GOOD FAITH

            Under 11 U.S.C. § 1112(b), a bankruptcy court may dismiss a chapter 11 case for

    lack of good faith. As Collier notes:

                     No provision of the Code expressly authorizes a court to
                     dismiss a case on this ground. Nonetheless, even in the
                     absence of express statutory authorization, the requirement
                     of good faith has been held to be an implicit condition to
                     the filing and maintenance of a bankruptcy case for over a
                     century.

    COLLIER ON BANKRUPTCY § 1112.07(1) (Lawrence P. King et al. eds., 15th ed. 2000).3

            The requirement of good faith guards against misuse of the bankruptcy process

    and targets “abuse of the bankruptcy process, or the rights of others, involving conduct or

    situations only peripherally related to the economic interplay between the debtor and the

    creditor community.” Id. (citations omitted). Bankruptcy courts are courts of equity, and

    the power to dismiss for want of good faith ensures that those who seek the protection of

    the bankruptcy process do so with clean hands. As Collier notes:

    3
      Although clear Third Circuit precedent allows for dismissal under 11 U.S.C. § 1112(b) for lack of good
    faith, one scholar has even gone so far as to question whether a good faith filing requirement for
    bankruptcy petitions is appropriate. Janet A. Flaccus, Have Eight Circuits Shorted? Good Faith and
    Chapter 11 Bankruptcy Petitions, 67 AM. BANKR. L.J. 401 (1993). Flaccus essentially notes that three
    Supreme Court decisions addressing dismissal of bankruptcy cases cast doubt on the rationale for finding a
    good faith requirement for filing bankruptcy petitions. Essentially, the Court has taken a strict textual
    approach to cases involving interpretations of the Code, ruling in several cases that where the Code is
    silent, the courts may not read or imply extraneous requirements. (citing Taylor v. Freeland & Kronz, 503




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             Exhibit 10 to Declaration
                             Document  of Daniel
                                            PageJ.7Merrett
                                                    of 27    Page 8 of 37



                    [I]f the totality of the circumstances demonstrates that
                    continuation of the chapter 11 case would promote injustice
                    and shelter misconduct, the Court may terminate the
                    proceedings.

    COLLIER ON BANKRUPTCY § 1112.07(1) (Lawrence P. King et al. eds., 15th ed. 2000).

            There is no abuse of the bankruptcy process in this case. The Plan does not

    promote injustice, but rather promotes justice for a huge creditor constituency, and,

    clearly, there is no misconduct in need of shelter. The Debtors filed for the protection of

    chapter 11 in good faith, for valid reorganizational reasons, and without the merest hint

    of what the Fifth Circuit has referred to as a “sinister or unworthy purpose.” In re

    Metropolitan Realty Corp., 422 F.2d 676, 678 (5th Cir. 1970).                  This consensual

    prepackaged bankruptcy filing, carrying with it the support of the vast majority of the

    only impaired creditor community, and seeking a just and fair result perfectly within the

    power of the bankruptcy court, ought to be allowed to proceed expeditiously to

    confirmation. This Court ought to ignore the self-serving and erroneous protestations of

    the Insurance Companies (possessed of questionable standing to raise the issue of good

    faith) and reject their unfounded motions for dismissal under 11 U.S.C. § 1112(b).

            1.      Good faith, for the purposes of § 1112(b), is established by
                    considering the totality of the circumstances, which, in this case,
                    clearly establish the Debtors’ good faith.

            A significant case in this circuit governing the standard of good faith is In re SGL

    Carbon Corporation, 200 F.3d 154 (3rd Cir. 1999). Although the Bankruptcy Code does

    not explicitly define cause for dismissal to include a lack of good faith, the Third Circuit

    has opted to allow a lack of good faith to constitute cause for dismissal because: (i) the



    U.S. 638 (1992), Toibb v. Radloff, 501 U.S. 157 (1991) and Johnson v. Home State Bank, 501 U.S. 78
    (1991)).


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                             Document  of Daniel
                                            PageJ.8Merrett
                                                    of 27    Page 9 of 37



    language of § 1112(b) is permissive, allowing such a construction; (ii) all or most other

    Courts of Appeal have opted to include a good faith requirement; (iii) the equitable

    nature of the bankruptcy process and a desire to ensure that debtors approach the court

    with clean hands; and (iv) the purposes underpinning chapter 11, balancing the interests

    of debtors and creditors and preventing abuse of the process. Id. at 161-62. Once an

    issue regarding the good faith of the debtor in filing for bankruptcy is raised, the burden

    of proof is on the bankruptcy petitioner to prove that it filed in good faith. Id. at 162.

            The Third Circuit requires that the issue of good faith be the subject of a fact

    intensive inquiry undertaken to determine where the debtor’s petition “falls along the

    spectrum ranging from the clearly acceptable to the patently abusive.” Id. Eschewing

    categorical rules and arbitrary determinations, the Third Circuit requires a court deciding

    upon a motion to dismiss a case for lack of good faith to “examine the totality of facts

    and circumstances to determine whether they support a finding of good faith.” Id.4 In

    SGL Carbon the Third Circuit decided that the bankruptcy petition was not filed in good

    faith (essentially because the debtor filed as a transparent and egregious ploy to gain

    tactical advantage in pending antitrust litigation while otherwise financially sound and

    not purporting to reorganize) and granted the motion to dismiss the case for cause under

    § 1112(b). Here, an examination of the totality of the facts and the circumstances

    compels a finding of good faith. The following factors are determinative.


    4
      The open-ended nature of the good faith inquiry leaves 11 U.S.C. § 1112(b) particularly susceptible to
    misuse by those pursuing an obstructive agenda. Indeed, some commentators have noted that, “the
    standards by which good faith is to be judged remain ill-defined and obscure.” F. Stephen Knippenberg
    and Lawrence Ponoroff, Legal Theory: The Implied Good Faith Filing Requirement: Sentinel of an
    Evolving Bankruptcy Policy, 85 N.W. U. L. REV. 919 (1991). The idea of “good faith” is more properly
    seen as a “moral imperative” rather than a workable legal doctrine. Id. at 972. Indeed, as Professors
    Knippenberg and Ponoroff note, “the term ‘good faith’ has become little more than a convenient way to
    refer to a set of criteria by which conduct is tested.” Id. at 971-72.


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             Exhibit 10 to Declaration
                              Document of Daniel
                                             PageJ. 9Merrett
                                                      of 27 Page 10 of 37



                      a.       The need for bankruptcy relief in the face of potentially limitless
                               mass tort liability is pressing, imminent and genuine.

             The Debtors have filed for bankruptcy in the face of potentially limitless liability

    for those asbestos and silica claims presently asserted by current claimants and those

    asbestos claims yet to arise that will be asserted by future claimants. Even a single

    mesothelioma claim could lead to tort liability in the order of tens or even hundreds of

    millions of dollars,5 and the potential avalanche of claims this filing and the mechanism

    set up under the Plan seek to avoid could drown the Debtors and cut off any avenue of

    recourse for deserving tort victims. The need for bankruptcy relief is pressing, imminent,

    and genuine. The United States Bankruptcy Court for the Southern District of California

    has noted that, as a threshold matter, a finding of good faith filing required the existence

    of “real debt” and “real creditors clamoring to enforce that real debt.” In re South

    California Sound Systems, Inc., 69 B.R. 893, 900 (Bankr. S.D. Cal. 1987). Few creditors

    clamor with the vigor of tort plaintiffs seeking compensation for devastating injuries and

    debilitating ailments.

                      b.     The Debtors seek to employ the Bankruptcy Code in precisely the
                      manner contemplated by the Code, and do not seek to twist the Code’s
                      provisions to escape liability for claims pressed against them.

             The Debtors seek to gain the protection of mechanisms under the Bankruptcy

    Code designed for precisely the situation presented here — the resolution of present and

    future claims by means of a trust and channeling injunction. The Debtors do not seek to

    twist portions of the Bankruptcy Code in the aid of some self-serving ploy to escape

    liability, nor do they abuse the bankruptcy process in a callow attempt to evade liability

    5
      A single case of mesothelioma, a virulent and aggressive form of cancer caused only by exposure to
    asbestos, recently saw a jury award a verdict of $250 million to a single plaintiff. See Peter Page, Asbestos



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                              Document of Daniel
                                            PageJ.10
                                                   Merrett
                                                     of 27 Page 11 of 37



    for tort claims pressed against them. If this bankruptcy case proceeds to confirmation

    and implementation of the scheme set forth in the chapter 11 Plan proposed by the

    Debtors and wholeheartedly supported by the only class of claimants impaired under the

    Plan, the Bankruptcy Code will operate precisely as intended.

            By way of example, the United States Court of Appeals for the Third Circuit, in

    the case of In re PPI Enterprises (U.S.) Inc., 324 F.3d 197, (3rd Cir. 2003) (involving a

    debtor filing for bankruptcy largely in order to take advantage of the cap on landlord’s

    claims under 11 U.S.C. § 502(b)(6)) upheld the bankruptcy court’s determination that “it

    was not necessarily “bad faith” for debtors to file for Bankruptcy to avail themselves of

    certain Code provisions.” Id. at 211. The bankruptcy court had ruled that:

                    in evaluating a debtor’s good faith, the court’s only inquiry
                    is to determine whether the debtor seeks to abuse the
                    bankruptcy law by employing it for a purpose for which it
                    was not intended.

    Id. Here, as in PPI Enterprises, there is no abuse of the bankruptcy law, merely a plan

    which proposes to use 11 U.S.C. §§ 524(g) & 105(a) precisely as the Code intended: The

    creation of a trust and channeling injunction to deal with present and future mass tort

    claims and ensure the continuing existence of entities faced with massive liability while

    securing lasting prospects for recovery by claimants. As noted by one scholar, “use of

    bankruptcy to protect a business whose viability is threatened by mass tort liability is not

    foreign to the underlying goals of the Bankruptcy Code.” Alan N. Resnick, Symposium

    Mass Torts: Bankruptcy as a Vehicle for Resolving Enterprise Threatening Mass Tort

    Liabilities, 148 U. PA. L. REV. 2045, 2050 (2000). Resnick views the underlying goals of



    Cases Draw Big Awards — Juries Slam Companies the Don’t Make Asbestos, NAT’L LAW J., April 7, 2003
    at A4, available online at http://www.law.com/jsp/article.jsp?id=1048518271989.


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             Exhibit 10 to Declaration
                              Document of Daniel
                                            PageJ.11
                                                   Merrett
                                                     of 27 Page 12 of 37



    the Bankruptcy Code in the context of mass tort cases as: (1) providing equal distribution

    to similarly situated creditors, (2) ameliorating the potential devastation that mass tort

    liability would have on the value of a business, and (3) compensating all victims. Id.

                    c.       The financial health of the Debtors, in the absence of the relief
                             sought, threatens the viability of the Debtors, and the bankruptcy
                             filing is a timely attempt to resolve problems while resolution is
                             still possible.

            The financial health of the Debtors, in the absence of the negotiated Plan filed in

    this case, is questionable. The fervent hope and expectation of the Debtors that the

    bankruptcy filing will allow the Debtors to operate business as usual is contingent upon

    the implementation of the Plan as negotiated. Without the trust and injunction, and the

    values set for compensation of tort claimants thereunder, the Debtors face potentially

    limitless liability of a nature and degree that could devastate the most financially healthy

    of enterprises. The bankruptcy filings and the Plan negotiated pre-petition is a timely

    attempt to reorganize the Debtors’ asbestos liabilities before the spiraling asbestos

    litigation might render any attempt to reorganize a fruitless endeavor. The Plan embodies

    the good faith efforts of the Debtors and the class of tort claimants to act pre-emptively,

    but not prematurely, to resolve potentially crippling liabilities while an equitable and fair

    resolution is still possible. As the SGL Carbon court held, “the Bankruptcy Code does

    not require specific evidence of insolvency for a voluntary Chapter 11 filing.” In re SGL

    Carbon Corporation, 200 F.3d 154, 164 (3rd Cir. 1999); see also In re The Muralo

    Company, Inc., No. 03-26723(MS) 2003 Bankr. LEXIS 1593 at **24-25 (December 4,

    2003 D.N.J. 2003). Pointedly, there is no requirement of insolvency for a debtor to seek

    the relief of a trust and channeling injunction under 11 U.S.C. § 524(g). Indeed, a

    recourse to 11 U.S.C. § 524(g) before the company is irredeemably doomed by litigation


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 Case03-35592-TPA
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                                            PageJ.12
                                                   Merrett
                                                     of 27 Page 13 of 37



    spiraling out of control is the surest guarantee of sustained and meaningful recovery by

    present and future claimants.6 In SGL Carbon, the Third Circuit noted that:

                      Courts have allowed companies to seek the protections of
                      bankruptcy when faced with pending litigation that posed a
                      serious threat to the companies’ long term viability.

    Id. In SGL Carbon, the Third Circuit found only the “attenuated possibility standing

    alone” that the debtor might, at some point in the future, need to file for bankruptcy

    relief. Id. This was insufficient for a good faith filing. Here, the possibility, and indeed

    the likelihood, of adverse financial consequences arising out of a failure to attain the

    relief sought in this reorganization case, lend support to the good faith nature of the

    filing. This court should look to the policies of bankruptcy and § 524(g) and utterly

    reject the Insurance Companies’ contention that “teetering on the verge of a fatal

    financial plummet” is required before a debtor may seek chapter 11 protection (see

    Certain Insurers’ Motion at 27), a standard found nowhere in the Bankruptcy Code or

    case law.

                      d.       The financial health of the Debtors’ parent is irrelevant to the
                               good faith of the Debtors’ bankruptcy filings.

             Although the Insurance Companies make much of the financial health of

    Halliburton, the parent of the Debtors, such an assertion is fundamentally irrelevant to the




    6
      As one scholar has observed: “[u]ntil a debtor proposes a plan, it is too speculative to conclude that
    reorganization is not in the best interests of the debtor and the debtor’s creditors simply because the debtor
    is solvent.” Greg M. Zipes, After Amchem and Ahearn: The Rise of Bankruptcy Over the Class Action
    Option for Resolving Mass Torts on a Nationwide Basis, and the Fall of Finality?. 1998 DET. C.L. REV. 7,
    50 (1998).


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             Exhibit 10 to Declaration
                              Document of Daniel
                                            PageJ.13
                                                   Merrett
                                                     of 27 Page 14 of 37



    good faith of the Debtors’ bankruptcy filings. Halliburton may well be financially sound,

    but Halliburton is not a debtor in this case and is not seeking bankruptcy protection. The

    Debtors are corporate entities facing potentially ruinous mass tort litigation. Halliburton

    has, thus far, met the substantial costs of defending and settling asbestos tort cases, but

    there is no guarantee that it will continue to do so. Confirmation and implementation of

    this Plan is vital to the continued financial viability of the Debtors, and this gives further

    weight to the good faith basis for the bankruptcy filings of the Debtors.

                    e.       This bankruptcy filing seeks a consensual resolution of tort
                             claims asserted against the Debtors, eschewing self-serving
                             tactical advantage for an equitable solution fair to all parties.

            The Debtors did not file for bankruptcy to gain tactical advantage in ongoing

    litigation.   This case stands in stark contrast to SGL Carbon, where the debtor’s

    acknowledged sole motive was to gain a decisive tactical advantage over plaintiffs

    litigating antitrust lawsuits against it and whose claims were eviscerated under the

    proposed plan while all other creditors remained unimpaired.            In re SGL Carbon

    Corporation, 200 F.3d 154, 168 (3rd Cir. 1999). The Plan is this case contemplates a

    comprehensive and complete resolution of the asbestos claims pressed against the

    Debtors in a vast number of fora, and it is the result of a diligently and fully negotiated

    settlement with the opponents of the Debtors in such litigation.            The Plan has the

    wholehearted support of the only group of claimants whose rights are impaired under the

    Plan, and it represents an equitable and fair resolution of the claims they hold. This Plan

    is a mutually acceptable and universally beneficial resolution of the intractable problems

    posed by tort claims of this nature and magnitude.




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             Exhibit 10 to Declaration
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                                            PageJ.14
                                                   Merrett
                                                     of 27 Page 15 of 37



            The Plan does not affect any coverage litigation with the Debtors’ insurers, a

    group whose number includes the Insurance Companies. The Plan is financed by the

    Debtors and their parent, and any recourse against insurance policies is reserved for

    another day and another forum. The true concern of the Insurance Companies is slightly

    different: a company faced with huge tort liability is inevitably distracted and

    disadvantaged in the pursuit of its rights under insurance policies. This bankruptcy filing

    represents an attempt to resolve pressing asbestos litigation and redress the tactical

    imbalance currently tilting any coverage litigation in the Insurers’ favor.          As the

    Bankruptcy Court for the District of New Jersey has noted, bankruptcy debtors are not

    the only entities tempted to use the Bankruptcy Code for strategic motivations, and

    “‘litigation tactics’ and ‘strategical motivations’ abound, particularly in mass tort driven

    chapter 11 cases.” In re The Muralo Company, Inc., No. 03-26723(MS) 2003 Bankr.

    LEXIS 1593 at **39-40 (December 4, 2003 D.N.J. 2003). Here, it is the Insurance

    Companies who employ “litigation tactics.” The Motions to Dismiss, if granted, would

    work to the complete and decisive strategic advantage of the Insurance Companies and

    would succeed in scuttling a case in which their standing is entirely questionable and the

    subject of searching scrutiny by this Court. In any event, the Debtors have a valid

    reorganizational purpose in filing for chapter 11 protection, and any attempt to

    mischaracterize the filing as an impermissible litigation tactic is without foundation.

                    f.       The Plan protects the rights of future claimants in exactly the
                             manner the Bankruptcy Code envisages.

            The Plan also equitably provides for the compensation of future claimants,

    ensuring that a mechanism to compensate claimants not yet able to press a claim against

    the Debtors will be available when such claims arise. The individual charged with


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 Case03-35592-TPA
      23-12825-MBK Doc Doc482
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                              Document of Daniel
                                            PageJ.15
                                                   Merrett
                                                     of 27 Page 16 of 37



    representing the interests of the future claimants in the negotiation process leading up to

    this filing has approved the Plan as in the interests of those he is charged to protect.

    Rather than leaving the recovery available to such claimants dependent upon the long

    term survival of the Debtors, itself subject to the vagaries of multi-forum mass tort

    litigation, the Plan proposed by the Debtors and supported by the guardian of the future

    claimants’ interests will guarantee a fair treatment of future claims as and when they

    arise. This solicitude for the rights of future claimants can only be characterized as

    indicative of a good faith attempt to seek the protection of the Bankruptcy Code in

    precisely the manner intended.

                    g.       Debtors propose to pay amounts in line with prevailing
                             settlement values to resolve asbestos claims against the Debtors
                             and in other similar bankruptcy cases. In opposition to this clear
                             fact, the Insurance Companies use statistics for support rather
                             than illumination.7

            In their endeavor to demonstrate that the amounts Debtors propose to pay to settle

    asbestos are “inflated,” the Insurance Companies take the total dollar amount Halliburton

    paid for asbestos claims through settlement or court proceedings over the past twenty-

    eight years and simply divide that amount by the number of claims so resolved. Thus,

    the Insurance Companies conclude, the “historical average cost per claim” is about $920.

    No one familiar with current asbestos litigation will take such an obviously manipulated

    “average” seriously. The Insurance Companies consciously ignore their own counsel’s

    acknowledgment that “the cost of defending and settling [asbestos] claims has been going

    up steadily . . . .” Mark D. Plevin, Asbestos Bankruptcy Basics and Selected Related



    7
     “He uses statistics as a drunken man uses lamp-posts — for support rather than illumination.” THE
    COLUMBIA WORLD OF QUOTATIONS (1996), Number 33704, attributed to Andrew Lang (1844-1912),
    Scottish author.


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             Exhibit 10 to Declaration
                              Document of Daniel
                                            PageJ.16
                                                   Merrett
                                                     of 27 Page 17 of 37



    Insurance Issues, Mealey’s Asbestos Bankruptcy Conference, June 3, 2003. Similarly,

    while “cherry-picking” portions of the Halliburton SEC Form 10-Q (Sept. 20,2003) (the

    “Halliburton 10-Q”) to quote, the Insurance Companies omit the statement that

    Halliburton’s expert, Dr. Rabinovitz, “projected that the elevated and historically

    unprecedented filings of the last several years (particularly 2000 and 2001) . . . would

    continue into the future for five more years.” Halliburton 10-Q at 19. In short, the

    Insurance Companies ignore the escalating costs of defending and settling asbestos claim

    by factoring in settlement costs from twenty-eight years ago to support their position.

            That the Debtors are not proposing a “grossly inflated” global asbestos settlement

    is demonstrated by the DII Industries, LLC Asbestos PI Trust Distribution Procedures,

    Plan Exhibit 4, Annex 3 (“Debtors’ Proposed TDP”). The Scheduled Values for asbestos

    personal injury claims set forth in Debtors’ Proposed TDP are “based on historical values

    for substantially similar claims in the tort system.” Debtors’ Proposed TDP at p. 4,

    Subsection 2.1.      The Scheduled Value, Average Value and Maximum Value for

    Harbison-Walker Asbestos PI Trust Claims for Mesothelioma are $51,300, $61,400, and

    $228,000, respectively. Pursuant to Federal Rule of Evidence 201, made applicable in

    this case by Federal Rule of Bankruptcy Procedure 9017, the Tort Victims respectfully

    request the Court to take judicial notice of the Combustion Engineering 524(g) Asbestos

    PI Trust Distribution Procedures, Exhibit G to Plan of Reorganization, Case No. 03-1049

    (the “Combustion Engineering TDP”). The Combustion Engineering TDP provides for

    Scheduled Value, Average and Maximum Value for Mesothelioma of $90,000, $120,000,

    and $400,000 respectively. Accordingly, the values proposed by Debtors can hardly be

    considered inflated and reflect amounts achieved through arms length negotations.



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                              Document of Daniel
                                            PageJ.17
                                                   Merrett
                                                     of 27 Page 18 of 37



                    h.       The Debtors come to this Court with clean hands, and principles
                             of equity require that this good faith filing proceed to a
                             confirmation hearing.

            The Debtors approach this Court with clean hands, seeking a fair and full

    consideration of the Plan in the context of a confirmation hearing, and equity demands

    that the premature attempts by the Insurance Companies to scuttle the process be

    rejected. Bankruptcy courts are courts of equity, and the bankruptcy process commands

    an entity seeking relief to act in an equitable fashion. The power afforded to bankruptcy

    courts by 11 U.S.C. § 1112(b) to dismiss cases not filed in good faith enforces this

    requirement of equitable behavior. In re SGL Carbon Corporation, 200 F.3d 154, 168

    (3rd Cir. 1999). The Debtors negotiated and proposed this Plan with its chief creditor

    constituency and the Plan is supported by a vast majority of those impaired creditors, in

    full compliance with principles of equity, in furtherance of goals specifically endorsed by

    the Bankruptcy Code, and seeks relief available to a debtor in the situation presented by

    this case.

                    i.       The foregoing factors compel a determination that the Debtors
                             bankruptcy filings were undertaken in good faith, and require
                             rejection of the Insurance Companies’ calls for dismissal cases
                             under 11 U.S.C § 1112(b).

            A thorough consideration of the totality of the circumstances surrounding the

    Debtors’ bankruptcy filings compels a finding that the Debtors filed for bankruptcy in

    good faith. If the Insurance Companies have standing to object to the confirmation of

    this Plan, which is doubtful, then they shall have their opportunity to be heard on the

    merits of the Plan in due course. The Debtors have, however, met their burden and can

    amply illustrate the good faith of their bankruptcy filings, after an examination of the

    totality of the surrounding circumstances.


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                                            PageJ.18
                                                   Merrett
                                                     of 27 Page 19 of 37



            2.      The Insurance Companies expect too much from their continual
                    invocation of the leading Third Circuit case on good faith, placing too
                    much significance on tenuous similarities between the facts of that
                    case and the facts before this Court, and ignoring cases with more apt
                    factual similarities.

            Seemingly oblivious to the central tenet of the SGL Carbon case, that each case

    must be judged on its own merits after a fact intensive examination of the totality of the

    circumstances, the Insurance Companies place great reliance on the conclusion of bad

    faith in SGL Carbon in asking this Court to dismiss these bankruptcy petitions. Certain

    Insurers contend that the decision “is on all fours here, and mandates the dismissal of

    these Chapter 11 petitions.” Certain Insurers Motion at 23 (emphasis added). The

    Hartford Motion treads a slightly more cautious path, claiming that “at a bare minimum,

    the striking parallels to the SGL Carbon case point up the need for careful scrutiny here.”

    Hartford Motion at 17.         Both Motions repeatedly draw comparisons between SGL

    Carbon and this case to bolster their arguments in favor of dismissal. Yet SGL Carbon is

    a case presenting an entirely different factual posture.

                    a.       There is no reasonable similarity between SGL Carbon’s finite
                             and readily estimable antitrust liability and the Debtors’
                             potentially unlimited mass tort liability.

            SGL Carbon involved a company’s filing for bankruptcy on account of a finite

    number of lawsuits alleging antitrust violations by the company. In SGL Carbon, the

    Third Circuit specifically rejected findings that the distractions caused by the antitrust

    litigation posed a serious threat to the continued operations of the Debtor, and that the

    litigation might result in a judgment that could ruin the company. In re SGL Carbon

    Corporation, 200 F.3d 154, 162 (3rd Cir. 1999). The distraction posed by the litigation

    was unsupported by evidence and the finite and readily estimable liability did not pose a



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                                            PageJ.19
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                                                     of 27 Page 20 of 37



    serious threat to the financial viability of the company. Indeed, the company had set

    aside a reserve for the payment of the claims, which it estimated at $240 million. Id. at

    158.

            In stark contrast, the litigation at issue here is potentially limitless. The central

    factor distinguishing asbestos liability from the sort of antitrust liability present in SGL

    Carbon is that the scope of asbestos liability may drown even the most financially viable

    of companies and may persist far into the future in a magnitude difficult to

    determinatively predict at any given time.           The consequences of asbestos litigation

    overtaking a business’s ability to deal effectively with it are such that the Bankruptcy

    Code makes express provision for a mechanism to deal with present and future asbestos

    liabilities, allowing a trust and channeling injunction to be set up and ensuring both the

    continued viability of the debtor and the prospects for compensation to claimants. In this

    case, the distraction inherent in mass asbestos liability and the potential financial ruin

    that it might inflict on an asbestos defendant at any given time are different in kind and

    degree from the distraction and ruin faced by the debtor in SGL Carbon.

                    b.       In SGL Carbon, the debtor admitted that the sole reason for the
                             filing was to gain a tactical advantage. Here, there is no
                             suggestion that this case has been filed with such self-serving
                             motivation, never mind a bald admission to that effect.

            Another factor influencing the Court in SGL Carbon was the fact that officers of

    the Debtor “expressly and repeatedly acknowledge that the Chapter 11 petition was filed

    solely to gain tactical litigation advantage.” In re SGL Carbon Corporation, 200 F.3d

    154, 168 (3rd Cir. 1999). This flies in the face of the requirement that bankruptcy filings

    be in pursuit of a valid reorganizational purpose, a lack of which the SGL Carbon Court

    found was evident. Id. at 166. In SGL Carbon the bankruptcy filing was a callow


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             Exhibit 10 to Declaration
                              Document of Daniel
                                            PageJ.20
                                                   Merrett
                                                     of 27 Page 21 of 37



    exercise in self-serving expediency. The debtor had no genuine desire to reorganize and

    ensure its creditors were compensated while the company survived intact, but merely saw

    an opportunity to pervert the Bankruptcy Code to gain unfair advantage in its litigation

    with the antitrust plaintiffs. The Insurance Companies assert similar motivation here, and

    a similar lack of valid reorganizational purpose.

            The Plan’s resolution of present and future tort litigation against the Debtors is a

    world apart from the self-serving tactics seen at play in SGL Carbon. Fully consistent

    with the requirements of the Bankruptcy Code, born of necessity brought about by

    crippling multi-forum litigation without foreseeable end, supported by the vast majority

    of the current claimants engaged in litigation against the Debtors, the result of a long,

    diligent, and arms-length negotiating process, and representing a consensual and

    equitable resolution of asbestos and silica claims, the Debtors invocation of the

    Bankruptcy Code is undertaken with a clearly discernible reorganizational purpose.

    There is simply no evidence to suggest that the Debtors filed for bankruptcy to gain

    tactical litigation advantage, a perversion of the bankruptcy process so detrimental to the

    claim of good faith in SGL Carbon.

                    c.       SGL Carbon is a poor fit factually, and if an example is sought to
                             guide the Court’s in depth analysis of the facts of this case, In Re
                             The Muralo Company is far more apposite.

            The case cited so extensively by the Insurance Companies provides the rule of

    decision for this Court’s determination, a requirement to look at the totality of the

    circumstances, but is, regardless of the claims of the Insurance Companies, a poor fit

    factually.   Although the Tort Claimants wish the avoid the error of the Insurance

    Companies and urge misplaced reliance upon the factual contours of a previously decided



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             Exhibit 10 to Declaration
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                                            PageJ.21
                                                   Merrett
                                                     of 27 Page 22 of 37



    case, a bankruptcy case from the United States District Court for the New Jersey is

    instructive. In the case of In re The Muralo Company, Inc., No. 03-26723(MS) 2003

    Bankr. LEXIS 1593 (D. N.J. 2003) the court declined to dismiss a bankruptcy case filed

    as a result of “an avalanche of asbestos related complaints” instituted against the debtor.

    Id. at *2. Faced with mass asbestos liability, the Muralo Company filed for bankruptcy

    with a view to instituting an adversary proceeding seeking a declaration that, under

    principles of successor liability, it was not liable for the asbestos claims lodged against it.

    Id. at *27. Even if properly characterized as a litigation tactic, the Muralo Court, noting

    that “in some sense, essentially all bankruptcy filings are “litigation tactics” as

    countermeasures to debt collection efforts,” held that “Debtors’ strategy in filing is

    readily distinguishable from what was described as abusive litigation tactics.” Id. at

    **28-29. Such is the case here. Far from abusing the provisions of the Bankruptcy Code

    to gain a self-serving advantage, the Debtors are seeking to employ the trust and

    channeling injunction provisions of the Bankruptcy Code in precisely the manner

    contemplated by Congress.

            The Muralo Court notes that the function of a bankruptcy court, charged under

    SGL Carbon with the determination of whether a bankruptcy filing is made in good faith,

    is to place the petition upon the spectrum ranging from the clearly acceptable to the

    patently abusive. Id. at *41. Performing this “spectroscopic analysis”, the court

                    is left to find case analogs and consider established
                    Bankruptcy Code policies (not the least of which is early
                    access to chapter 11 … as well as access to chapter 11
                    protections generally.




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                                            PageJ.22
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                                                     of 27 Page 23 of 37



    Id. at *42. The Muralo Court considered the debtors’ filing to be closer on the spectrum

    to the Johns-Manville case (the genesis of the trust and channeling mechanism as a

    means of resolving mass asbestos litigation) than to the SGL Carbon case, and held that

                    [t]he Third Circuit indicated in SGL Carbon that the Johns-
                    Manville filing was as a minimum acceptable if not "clearly
                    acceptable," while SGL Carbon's filing was found to be
                    abusive if not "patently abusive." Debtors' circumstances
                    are, in this court's view, plainly most closely related to
                    those of Johns-Manville. Again, the mass tort litigation
                    context of Johns-Manville and the immediate case is found
                    to be an overwhelming factor favoring a good faith filing
                    determination.

    Id. at *42. Although each case must be determined solely on its own merits, it is evident

    that this bankruptcy filing by the Debtors shares a greater similarity with the Johns-

    Manville and Muralo cases than with SGL Carbon. Both of the former cases involved

    debtors facing potentially ruinous mass tort litigation, who sought, in good faith, the

    protection of the Bankruptcy Code.             After an examination of the totality of the

    circumstances, the bankruptcy filing in this case is, at a minimum, clearly closer along

    the spectrum towards acceptable than abusive. The Court should allow this case to

    proceed on its own merits to confirmation and not succumb to the call of the Insurance

    Companies for a premature dismissal.

    3.      Although the totality of circumstances controls and each case must be
            evaluated individually, there are certain prototypical examples of cases filed
            in bad faith. The case before this Court does not fit any of the paradigmatic
            examples of a bad faith case.

            The holding of SGL Carbon is clear: Each case must be decided on its own

    merits after a review of the totality of the circumstances and an individualized decision

    regarding whether the petition has been filed in good faith. This having been said,




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                                                   Merrett
                                                     of 27 Page 24 of 37



    however, there are a number of prototypical examples of cases in which courts have

    found a lack of good faith, none of which fit the case before this Court.

             The United States Bankruptcy Court for the District of New Jersey has noted that:

                      Courts have dismissed cases as bad faith filings for a
                      variety of reasons, including but not limited to: (1) when
                      the petition is filed merely as a litigation tactic; (2) when
                      the petition was filed solely to frustrate the legitimate
                      efforts of other parties to enforce their rights; (3) when the
                      debtor lacks a valid reorganizational purpose; and (4) when
                      the debtor's sole motive is to avoid a contract.

    In re Walden Ridge Dev., LLC, 292 B.R. 58, 62 (Bankr. D.N.J. 2003). 8 A review of the

    caselaw identifies a number of examples of cases dismissed for the above reasons.

             Examples of cases filed solely for tactical advantage include In re SGL Carbon

    Corporation, 200 F.3d 154 (3rd Cir. 1999), which was, as demonstrated above, filed

    solely to gain a tactical advantage in pending lawsuits.9 In contrast, this case is a


    8
      Collier offers a longer and more specific list: “Although application of the standard necessarily turns on
    the totality of circumstances of each individual case, situations in which good faith have been found to be
    lacking include those involving (1) use of bankruptcy as a vehicle to defraud others, (2) the persistent
    failure to comply with applicable court orders, rules or procedures, (3) use of the bankruptcy process to
    escape familial obligations, (4) the secretion of property and other efforts to avoid the disclosure of assets,
    (5) use of the bankruptcy system simply to avoid the consequences of prior misconduct, (6) the filing of a
    case to avoid an obligation under circumstances in which the debtor is not in need of reorganization, (7) the
    absence of legitimate debt, (8) the absence of any likelihood of rehabilitation, (9) use of bankruptcy as a
    vehicle to resolve disputes solely between equity participants, (10) use of the bankruptcy process merely to
    frustrate the rights of creditors (particularly with respect to single asset cases) or to coerce unfair treatment,
    (11) successive filings without any change in financial condition, and (12) the so-called new debtor
    syndrome, in which a debtor is created, or property is transferred, solely for the purpose of commencing a
    bankruptcy case. In situations like these, although the debtor or some other party might in many instances
    otherwise proceed to formulate a plan of reorganization, continuing the process is thought to constitute a
    perversion of the reorganization laws and the court may terminate the proceedings to prevent the abuse.”
    COLLIER ON BANKRUPTCY § 1112.07(1) (Lawrence P. King et al. eds., 15th ed. 2000) (footnotes omitted).
    None of these examples provide a close analog to this case either.
    9
      Other cases dismissed as seeking tactical advantage were In re Cedar Shore Resort, 235 F.3d 375 (8th
    Cir. 2000) (primary motivation of bankruptcy filing was for protection against pending lawsuit brought by
    minority shareholder), In re HBA East, 87 B.R. 248 (Bankr. E.D.N.Y. 1988) (bankruptcy filing intended to
    secure tactical advantage in pending litigation “rose to a level of egregiousness compelling a conclusion
    that the reorganization process is being perverted” Id. at 262), In re Furness, 35 B.R. 1006 (D. Md. 1983)
    (bankruptcy filed on the eve of civil trial, immediately after debtor’s motion for postponement was denied)
    and In re Silberkraus, 253 B.R. 890 (Bankr. C.D. Cal. 2000) (bankruptcy filed to obstruct pending state
    court litigation).


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    comprehensive and consensual settlement of mass tort litigation of the kind envisaged by

    11 U.S.C. § 524(g) rather than an attempt to secure a tactical advantage in any current or

    future litigation. Any issues to be resolved between Debtors and their insurers are fully

    reserved for another day and another forum.

             A few cases seem to have been filed solely to frustrate other parties enforcement

    of their rights. For example, In re Marsch, 46 F.3d 825 (9th Cir. 1994) saw a bankruptcy

    case dismissed because the sole reason for the filing was to avoid paying an adverse

    judgment or posting an appeal bond, and In re Tamecki, 229 F.3d 205 (3rd Cir. 2000)

    saw a case dismissed on the grounds that the debtor’s imminent divorce would provide

    sufficient funds to pay his only significant debt and enable him to get a fresh start.10 In

    contrast, the proposed reorganization in this case impairs only the rights of those holding

    tort claims against the Debtors. Present claimants have overwhelmingly supported the

    treatment they will receive under the Plan, and future claimants are best protected, and

    their prospects for recovery guaranteed, by an enduring trust created to provide recovery

    as long as liability exists.

             This case is readily distinguishable from those cases dismissed on the grounds

    that the debtors lacked a valid reorganizational purpose. For example, the bankruptcy

    court in In re Island Helicopters, 211 B.R. 453 (Bankr. E.D.N.Y. 1997) dismissed the

    case where there was no viable entity to reorganize and the case was filed for the sole

    purpose of frustrating the city of New York’s attempts to eject the debtor from city




    10
      Similarly, a number of cases saw dismissal of bankruptcy filings on the grounds that the only purpose of
    the filings were to stay imminent foreclosures and frustrate the rights of secured creditors. See, e.g., In re
    Primestone, 272 B.R. 554 (Bankr. D. Del. 2002); In re Grieshop, 63 B.R. 567 (D. Ind. 1986); In re
    McCormick Road Associates, 127 B.R. 410 (D. N.D. Ill. 1991).


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                                                     of 27 Page 26 of 37



    property pursuant to a fully litigated eviction order.11                 This Debtor in this case is

    possessed of a clear reorganizational purpose: the invocation of 11 U.S.C. §§ 524(g) &

    105(a) to ensure fair and equitable treatment of present and future mass tort claimants

    and provide a mutually acceptable global resolution of crippling mass tort litigation.

             Finally, on occasion, cases have been dismissed on the grounds that they are filed

    solely to avoid contractual liability. For example, the bankruptcy filing in In re South

    California Sound, 69 B.R. 893 (Bankr. S.D. Cal. 1987) was dismissed on the grounds it

    was filed solely to reject an executory contract. This paradigm is simply irrelevant in this

    case, which seeks to implement a negotiated resolution of mass tort liability and does not

    implicate the rejection of contracts (or the avoidance of legal liability of any kind).

             It is clear that the case before this Court does not fit any of the commonly seen

    paradigms of cases filed in bad faith. In contrast, this case is a comprehensive and

    consensual settlement of mass tort litigation of the kind envisaged by 11 U.S.C. § 524(g)

    and no tactical advantage is sought through an abusive use of the Bankruptcy Code, there

    is neither the attempt nor the effect of frustrating the legitimate efforts of other parties to

    enforce their rights, the valid reorganizational purpose is manifest in the Plan’s adoption

    of a trust and channeling injunction method of resolving asbestos liability, and there is no

    attempt to avoid any contract, or other legal obligation. This lack of fit with any of the

    paradigmatic examples of bad faith is not determinative of the Debtors’ good faith, but

    lends additional weight to the determination that the totality of the evidence weighs

    against dismissal.

    11
      Similarly, any reorganizational purpose that might have arisen in the SGL Carbon case if the debtor was
    adjudicated liable and found itself unable to meet any resulting judgment had yet to manifest itself, the case
    being filed when it was for reasons divorced from reorganization and predicated solely on an attempt to
    gain tactical advantage.


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                                                     of 27 Page 27 of 37



                      IV      CONCLUSION AND PRAYER FOR RELIEF

            The good faith of the Debtors’ bankruptcy filings is evident, and this Court should

    reject meritless Motions to Dismiss, filed by the Insurance Companies with questionable

    standing in this case, no genuine solicitude for the rights of present of future tort

    claimants, and a vested interest in seeing this bankruptcy fail. The Third Circuit test for

    good faith for the purposes of 11 U.S.C. § 1112(b) requires this Court to “examine the

    totality of facts and circumstances to determine whether they support a finding of good

    faith.” In re SGL Carbon Corporation, 200 F.3d 154, 162 (3rd Cir. 1999). In this case,

    facing potentially ruinous mass tort litigation of inestimable amount and duration, the

    Debtors have filed a prepackaged Plan that impairs only two classes of creditors, asbestos

    tort plaintiffs and silica tort plaintiffs and sets up a trust and channeling injunction

    mechanism under 11 U.S.C. § 524(g) to ensure the fair and equitable compensation of

    present and future tort claimants.        The overwhelming majority of present claimants

    support the Plan, which has also been approved by a representative appointed to

    safeguard the interests of future claimants. Filed for a valid reorganizational purpose

    consistent with the goals of the Bankruptcy Code, rather than merely representing a

    litigation tactic or a devious attempt to strip the rights of others (cases fit for dismissal for

    lack of good faith), this case has been filed in good faith. Accordingly, this Court should

    reject the Insurance Companies’ self-serving and meritless attempts to derail this case

    and allow the Plan to proceed expeditiously to confirmation.

            For the foregoing reasons, the Tort Victims represented by Baron & Budd and

    Silber Pearlman respectfully urge this Court to enter an Order denying the Motions to

    Dismiss, and for such other and further relief as this Court deems just and proper.



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                                  CERTIFICATE OF SERVICE

           The undersigned certifies that a true and correct copy of the above and forgoing
   Response was served this 29th day of January, 2004, electronically and by U.S. Mail on
   the individuals listed on the Official Service List Effective 01/09/04 and those other
   interested parties on the attached service list.



                                                     /s/ Robert S. Bernstein




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                      IN THE UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF PENNSYLVANIA

In re:                                          )           Jointly Administered at
                                                )           Case No. 03-35592 JKF
MID-VALLEY, INC., et al.,                       )
                                                )           Chapter 11
                      Debtors.                  )
                                                )


                      OFFICIAL SERVICE LIST EFFECTIVE 01/09/04

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General Counsel                                Kellogg Brown & Root
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